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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                      )
                                                  )
                          v.                      )      CRIM. NO. 15-cr-40023-TSH
                                                  )
    DAVID L. MARICOLA                             )


                                   MOTION TO WITHDRAW

          Undersigned counsel respectfully moves the Court to allow him to withdraw as counsel

for David L. Maricola. As grounds for this motion, counsel notes that Assistant Federal Public

Defender Timothy G. Watkins has entered his appearance on behalf of the defendant in this

matter.

                                                      Respectfully submitted,

                                                      /s/ Joshua R. Hanye
                                                      Joshua R. Hanye,
                                                          B.B.O.: 661686
                                                      Assistant Federal Public Defender
                                                      Federal Public Defender Office
                                                      51 Sleeper Street, 5th Floor
                                                      Boston, MA 02210
                                                      Tel: 617-223-8061


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on August 17, 2015.

                                                      /s/ Joshua R. Hanye
                                                      Joshua R. Hanye
